Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 1 of 22




                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION


     GET FIT FAST SUPPLEMENTS, LLC,
     a Florida Limited Liability Company,
                                                        Case No. 19-CV-80641
                            Plaintiff,

     v.

     RICHPIANAUNCENSORED.COM,
     LLC, a Florida Limited Liability
     Company,

                            Defendant.



                                         NOTICE OF REMOVAL

          1.     Pursuant     to    28    U.S.C.   §§     1331,   1441,    and    1446,    Defendant,

  RICHPIANAUNCENSORED.COM, LLC (“RPU”), hereby removes this action from the Circuit

  Court of the Fifteenth Judicial Circuit in and for Palm Beach County, Florida (Case No.

  502019CA004882XXXXMB), to the United States District Court for the Southern District of

  Florida, being the federal district embracing the place where the case is pending. In support of this

  Notice of Removal, RPU states the following:

                                    TIMELINESS OF REMOVAL

          2.     On April 15, 2019, Plaintiff, GET FIT FAST SUPPLEMENTS LLC (“Get Fit”)

  filed a Complaint in the Circuit Court in and for Palm Beach County, Florida styled Get Fit Fast

  Supplements LLC v. Richpianauncensored.com LLC, Case No. 502019CA004882XXXXMB (the




                                                   1/5
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 2 of 22



  “State Court Action”).1

           3.       RPU was served with the summons and Complaint on or about April 24, 2019.

           4.       This Notice is timely because it was filed within thirty days of service of process

  on RPU. 28 U.S.C. § 1446(b); see also Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526

  U.S. 344, 347-48 (1999) (holding “that a named defendant’s time to remove is triggered by

  simultaneous service of the summons and complaint, or receipt of the complaint, ‘through service

  or otherwise,’ after and apart from the service of the summons, but not by mere receipt of the

  complaint unattended by any formal service”).

           5.       Written notice of the filing of this Notice of Removal and the removal of the state

  court action is being served on plaintiff through his counsel of record. Pursuant to 28 U.S.C.

  § 1446(d), a copy of this Notice of Removal is being promptly filed with the Clerk of the Circuit

  Court of the Fifteenth Judicial Circuit in and for Palm Beach County, Florida.

                                        STATEMENT OF THE CASE

           6.       RPU is a wholly owned subsidiary of Five Percent Nutrition LLC (“Five Percent”).

  Five Percent Nutrition develops, markets, and sells premium, high-quality nutritional supplements

  through its own website and through a network of authorized resellers.

           7.       Plaintiff Get Fit purports to sell Five Percent’s nutritional supplements through

  amazon.com. Get Fit is not an authorized reseller of Five Percent’s supplements.

           8.       Five Percent monitors online activity related to its products to ensure quality, and

  has quality controls in place to protect its products, goodwill, and brand. Five Percent discovered

  Get Fit purporting to sell Five Percent products through amazon.com, despite never authorizing

  Get Fit to sell its products.


  1
   Pursuant to 28 U.S.C. § 1446(a),a A copy of the Complaint, is attached hereto as Exhibit A, along with copies of all
  other process, pleadings, and orders filed in the State Court Action.


                                                          2/5
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 3 of 22



         9.      Five Percent notified Amazon.com that Plaintiff Get Fit was not authorized to sell

  Five Percent products and that Get Fit was selling counterfeit Five Percent products, which has led

  to the State Court Action.

         10.     The Complaint asserts two causes of action; Count I seek a Declaratory Judgment.

  Specifically, Count I requests a determination that the alleged Five Percent products sold by Get

  Fit are authentic. Count II seeks damages related to alleged Tortious Interference.

    I.   FEDERAL QUESTION JURISDICTION EXISTS UNDER 28 U.S.C. § 1331

         11.     This Court has jurisdiction over this matter under 28 U.S.C. § 1331 as the nature of

  Count I will require an analysis under Federal Trademark law to determine whether the products

  sold by Get Fit are authentic Five Percent supplements.

         12.     To promote and protect the Five Percent brand, Five Percent has registered several

  trademarks with the United States Patent and Trademark Office, specifically 5% NUTRITION®

  (U.S. Registration No. 4736463 – Registered May 12, 2015); RICH PIANA 5% NUTRITION®

  (U.S. Registration No. 5418377 – Registered March 6, 2018); RICH PIANA® (U.S. Registration

  No. 5418378 – Registered March 6, 2018);           ® (U.S. Registration No. 5418379 – Registered

  March 6, 2018); and            ® (U.S. Registration No. 5503146 – Registered June 26, 2018)

  (hereinafter cumulatively referred to as the “Five Percent Trademarks”).

         13.     Count I seeks to have the products being sold by Get Fit declared as genuine Five

  Percent products. In order to make this determination, the Palm Beach Circuit Court would be

  required to make an analysis under Federal Trademark law as any purported Five Percent

  supplement being sold by Get Fit would be marked with one or more of the Five Percent

  Trademarks.

         14.     Any purported Five Percent supplement being sold by Get Fit, which does not bear




                                                  3/5
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 4 of 22



  one of the Five Percent Trademarks could not be authentic. Furthermore, the State Court Action

  seeks a determination that Get Fit’s use of the Five Percent Trademarks is legitimate and authentic,

  which bears on issues of Federal Trademark law and requires determinations under the same.

         15.     The Five Percent Trademarks are so intertwined with Five Percent’s supplements

  that it would be impossible for the Palm Beach Circuit Court to make a determination as to Count

  I of the Complaint without 15 U.S.C. Chapter 22, which contains the Federal Trademark laws.

         16.     Count I of the Complaint is essentially asking the Palm Beach Circuit Court to

  allow Get Fit to use the Five Percent Trademarks, and determine the legitimacy of products which

  may or may not bear the Trademark of Five Percent, under the guise of a Chapter 86, Florida

  Statutes, declaratory claim.

         17.     The instant case is analogous to Otter Products, LLC v. Wang, 2019 WL 1403022

  (March 28, 2019 D. Colorado). In Otter Products, the plaintiffs manufactured and sold premium

  mobile device cases and accessories through their own website and a network of authorized

  resellers. Id. at *1. Plaintiff has several trademarks registered to ensure quality control and to be

  able to monitor authorized resellers compliance with the Plaintiff’s standards for quality control.

  Id. at *1-2. The defendant was not an authorized reseller of the Plaintiff, but was selling products

  with the Plaintiff’s trademarks that were not genuine products through Amazon. Id. at 2. Because

  the claims arose out of Federal Trademark law, the District Court for the District of Colorado had

  jurisdiction under 28. U.S.C. §1331. Id. at *3.

         18.     Similar to the claims in Otter Products, the Court will be required to conduct its

  analysis under the Federal Trademark law in 15 U.S.C. Chapter 22, which gives the Southern

  District of Florida jurisdiction over this matter.

         19.     Based on the foregoing, it is clear that the Southern District of Florida has




                                                       4/5
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 5 of 22



  jurisdiction pursuant to 28 U.S.C. § 1331.

                                           CONCLUSION

         Based on the foregoing, Defendant RPU hereby removes this action from the Circuit Court

  of the Fifteenth Judicial Circuit in and For Palm Beach County Florida to the United States District

  Court for the Southern District of Florida pursuant to 28 U.S.C. § 1331.

         By this Notice of Removal, Five Percent does not waive any objections it may have as to

  service, jurisdiction or venue, or any other defense or objections it may have to this action. Five

  Percent makes no admission of fact, law, or liability by this Notice, and expressly reserves all

  defenses, motions and/or pleas.

                                                        Dated: May 14, 2019

                                                        ELLISON | LAZENBY


                                                        _/s Jason M. Ellison____________
                                                        Jason M. Ellison
                                                        FBN: 0040963
                                                        jellison@elattorneys.com
                                                        Brittney P. Baker
                                                        FBN: 0113803
                                                        bbaker@elattorneys.com
                                                        200 Central Avenue, Suite 1850
                                                        St. Petersburg, FL 33701
                                                        admin2@elattorneys.com
                                                        Phone -(727) 362-6151
                                                        Counsel for Defendant
                                                        RICHPIANAUNCENSORED.COM, LLC,




                                                  5/5
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 6 of 22




                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION


     GET FIT FAST SUPPLEMENTS, LLC,
     a Florida Limited Liability Company,
                                            Case No.   19-CV-80641
                      Plaintiff,

     v.

     RICHPIANAUNCENSORED.COM,
     LLC, a Florida Limited Liability
     Company,

                      Defendant.



                                   NOTICE OF REMOVAL


                                      EXHIBIT A
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 7 of 22
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 8 of 22
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 9 of 22



  jurisdiction pursuant to 28 U.S.C. § 1331.

                                           CONCLUSION

         Based on the foregoing, Defendant RPU hereby removes this action from the Circuit Court

  of the Fifteenth Judicial Circuit in and For Palm Beach County Florida to the United States District

  Court for the Southern District of Florida pursuant to 28 U.S.C. § 1331.

         By this Notice of Removal, Five Percent does not waive any objections it may have as to

  service, jurisdiction or venue, or any other defense or objections it may have to this action. Five

  Percent makes no admission of fact, law, or liability by this Notice, and expressly reserves all

  defenses, motions and/or pleas.

                                                        Dated: May 14, 2019

                                                        ELLISON | LAZENBY


                                                        _/s Jason M. Ellison____________
                                                        Jason M. Ellison
                                                        FBN: 0040963
                                                        jellison@elattorneys.com
                                                        Brittney P. Baker
                                                        FBN: 0113803
                                                        bbaker@elattorneys.com
                                                        200 Central Avenue, Suite 1850
                                                        St. Petersburg, FL 33701
                                                        admin2@elattorneys.com
                                                        Phone -(727) 362-6151
                                                        Counsel for Defendant
                                                        RICHPIANAUNCENSORED.COM, LLC,




                                                  5/5
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 10 of 22
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 11 of 22
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 12 of 22
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 13 of 22
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 14 of 22
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 15 of 22
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 16 of 22
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 17 of 22
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 18 of 22
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 19 of 22
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 20 of 22
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 21 of 22
Case 9:19-cv-80641-DMM Document 1 Entered on FLSD Docket 05/15/2019 Page 22 of 22
